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                  IN THE UNITED STATES BANKRUPTCY COURT

                         FOR THE DISTRICT OF DELAWARE

In re:                                            Chapter 11

ASHINC Corporation, et al.,                       Case No. 12-11564 (CSS)
                                                  (Jointly Administered)
                    Debtors.


CATHERINE E. YOUNGMAN, LITIGATION                 Adv. Proc. No. 13-50530 (CSS)
TRUSTEE FOR ASHINC CORPORATION, ET.
AL., AS SUCCESSOR TO THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS OF
ASHINC CORPORATION, AND ITS AFFILIATED
DEBTORS

                    Plaintiff,

BLACK DIAMOND OPPORTUNITY FUND II, LP,
BLACK DIAMOND CLO 2005-1 LTD., and
SPECTRUM INVESTMENT PARTNERS, L.P.,

                     Intervenors,

                    v.

YUCAIPA AMERICAN ALLIANCE FUND I, L.P.,
YUCAIPA AMERICAN ALLIANCE (PARALLEL)
FUND I, L.P., YUCAIPA AMERICAN ALLIANCE
FUND II, L.P., YUCAIPA AMERICAN ALLIANCE
(PARALLEL) FUND II, L.P., MARK
GENDREGSKE, JOS OPDEWEEGH, JAMES
FRANK, DEREX WALKER, JEFF PELLETIER,
IRA TOCHNER, and JOSEPH TOMCZAK,

                    Defendants.

CATHERINE E. YOUNGMAN, LITIGATION       Adv. Pro. No. 14-50971 (CSS)
TRUSTEE FOR ASHINC CORPORATION, ET AL.,
AS SUCCESSOR TO BLACK DIAMOND
OPPORTUNITY FUND II, LP, BLACK DIAMOND
CLO 2005-1 LTD., SPECTRUM INVESTMENT
PARTNERS, L.P., BLACK DIAMOND
COMMERCIAL FINANCE, L.L.C., as co-
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administrative agent, and SPECTRUM
COMMERCIAL FINANCE LLC, as co-
administrative agent,

                         Plaintiff,

v.

YUCAIPA AMERICAN ALLIANCE FUND I, L.P.,
YUCAIPA AMERICAN ALLIANCE (PARALLEL)
FUND I, L.P., YUCAIPA AMERICAN ALLIANCE
FUND II, L.P., YUCAIPA AMERICAN ALLIANCE
(PARALLEL) FUND II, L.P., RONALD BURKLE,
JOS OPDEWEEGH, DEREX WALKER, JEFF
PELLETIER, IRA TOCHNER, and JOSEPH
TOMCZAK,

                         Defendants.



 DEFENDANTS YUCAIPA AMERICAN ALLIANCE FUND I, L.P. AND YUCAIPA
AMERICAN ALLIANCE (PARALLEL) FUND I, L.P.’S OBJECTION TO MOTION OF
  THE LIQUIDATION TRUSTEE TO PERMIT REGISTRATION OF JUDGMENT




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           Defendants Yucaipa American Alliance Fund I, L.P. and Yucaipa American Alliance

(Parallel) Fund I, L.P. (collectively, “Yucaipa”), by and through their counsel, hereby object (the

“Objection”) to the Motion of the Litigation Trustee to Permit Registration of Judgment [Adv.

Proc. No. 13-50530 (“Estate Action”), D.I. 873; Adv. Proc. No. 14-50971 (“Lender Action”),

D.I. 611] (the “Motion”).1 In support of the Objection, Yuciapa respectfully represents as

follows:

           As recognized by the Motion, pursuant to 28 U.S.C. § 1963, the Trustee must show

“good cause” in order register the Judgment outside of the rendering district by showing

substantial property in a foreign district and insufficient property in the rendering district.

Motion at 4-5. The Trustee asserts that Yucaipa claims to have no assets in Delaware, but that

“Yucaipa’s principal operations, employees, and physical address are in California” and has

“four California bank accounts holding approximately $7.8 million.”2 Motion at 5-6. The

Motion makes no assertion that Yucaipa has any assets other than those in California.

           While these allegations may be sufficient to permit registration of the Judgment in

districts in California, the Trustee has not shown “good cause” to register the Judgment in any

other district.       Courts, including those within the Third Circuit, do not permit unfettered

registration in districts that “may” hold assets. Rather “good cause” requires the movant to

actually “demonstrate that there are substantial assets in the forum state.” Air Prods. & Chems.

v. Inter-Chemical, Ltd., Case No. 03-CV-6140, 2006 U.S. Dist. LEXIS 108238, *4, 2006 WL

8458843 (E.D. Pa. May 31, 2006) (finding good cause not established where plaintiff stated that

defendant “may” have had assets in foreign district but did not make an unqualified statement of

the same); see also Jack Frost Lab v. Physicians & Nurses Manufacturing Corp., 951 F. Supp.

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    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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    For clarity, the two defendant funds in this case have no employees.

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51, 52 (S.D.N.Y. 1997) (refusing to register judgment in district courts other than those in

Florida because the moving party only established that the non-moving party had substantial

assets in Florida). Nonetheless, the Motion impermissibly seeks to register the Judgment in “any

jurisdiction in which [Defendants] may have assets” without any showing that any assets exist in

any other district. Motion at 1 (emphasis added); see also Motion at 2 (“in any districts in which

Yucaipa may have assets); Motion at 6 (“in California, or anywhere else that the Trustee later

determines Yucaipa may have assets”).        Any order permitting the Trustee to register the

Judgment in a foreign district must be limited to those within California.

       In addition to the Trustee’s overreaching request to register the Judgment in additional

districts without showing good cause, the Motion gratuitously states that the need for quick

enforcement is particularly acute because “Yucaipa inexplicably distributed over $379 million to

its investors to avoid satisfying a future judgment.” Motion at 6; see also Motion at 1, n.2

(“Yucaipa inexplicably distributed hundreds of millions of dollars to its limited partners over the

past several years”). As such a statement is not relevant to a “good cause” showing, the purpose

of this false statement can only be an improper attempt to taint Yucaipa. Indeed, all distributions

to limited partners were required by and made pursuant to Article VI of the Third Amended And

Restated Limited Partnership Agreement. The Trustee offers no support for its false contention

that Yucaipa’s distributions were improper or made in order “to avoid satisfying a future

judgment.” They were not. The last distribution made by Yucaipa was made more than two

years ago, on May 3, 2019. The fact and amounts of these distributions were premised on

independent valuations of the partnerships’ assets and liabilities (and no distributions were

related to Yucaipa’s investment in Allied). To be clear, Yucaipa has not made any distributions

since the May 4, 2021 opinion upon which the Judgment was based.                 And, no further



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distributions will be made. In fact, Yucaipa repeatedly has offered the four bank accounts

referenced in the Motion, which hold Yucaipa’s only remaining assets, as security for the

Judgment while the parties’ mediation and the appeal are pending. Although its offers have been

rejected, Yucaipa has, of its own volition, stopped using these accounts to pay other debts,

including the attorneys’ fees and costs it must incur to defend the actions brought by the Trustee.

       Yucaipa respectfully requests that the Court deny the Motion to the extent it seeks to

register the Judgment in any districts outside of California.




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Dated: August 23, 2021             PACHULSKI STANG ZIEHL & JONES LLP

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